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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION
____________________________________
                                     )
JOHN DOE,                            )
                                     )
            Plaintiff,               )
                                     )  Civil Action No.: 4:19 CV 300
      v.                             )
                                     )
WASHINGTON UNIVERSITY,               )
                                     )
            Defendant.               )
                                     )
____________________________________)


   PLAINTIFF’S MOTION FOR LEAVE TO CLARIFY FEBRUARY 26, 2019 ORDER

        NOW COMES Plaintiff, JOHN DOE, by and through his undersigned attorneys, and

moves this Honorable Court to Clarify the February 26, 2019 Order. In support of this motion,

Plaintiff states as follows:

        1.      On February 26, 2019, the Court ordered Plaintiff to refile his complaint and

attached exhibits under seal. In naming the exhibits, Plaintiff was ordered to use the initials of

nonparties rather than their real names.

        2.      Instead of using their real names, Plaintiff has substituted the initials of the non-

party witnesses, Title IX Investigator, and Panel members in his Complaint and in the

descriptions of his Exhibits.

        3.      The Complaint no longer uses real names and only Exhibits 3-17, and Exhibit 19,

contain potentially sensitive material regarding the details of this case.
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         4.     There is no privacy right or public policy concern implicated if this Honorable

Court clarifies the February 26, 2019 Order to reflect that only Exhibits 3-17, and Exhibit 19

shall remain filed under seal.



         WHEREFORE, Plaintiff respectfully requests this Honorable Court to Order the Clerk’s

Office to remove the sealed access level on Plaintiff’s Complaint, and on Exhibits 1, 2, 18, and

20-29.



Respectfully submitted,



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